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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION


UNITED STATES OF AMERICA,                              CASE NO.: 1:12cr54

                    Plaintiff,                         Judge Michael R. Barrett

      -vs-

JOHN RANDY CALLIHAN,

                    Defendant.

                                 OPINION AND ORDER

      This matter came on for consideration of Defendant John Randy Callihan's

Motion to Suppress Search and Seizure (Doc. 77), Defendant John Randy Callihan's

Motion to Suppress Statements (Doc. 76), Defendant John Randy Callihan's Motion to

Dismiss (Doc. 75), the Government’s responses thereto (Docs. 78-80), and the facts

adduced at the hearing held on April 21, 2014.

                  Motion to Suppress Search and Seizure (Doc. 77)

      Callihan seeks to suppress the search and seizure of his business and home

based upon a search warrant dated November 15, 2010. (Doc. 77). As both parties

agree that the premises in question were searched pursuant to a warrant, the question

for the Court is whether there is sufficient probable cause contained in the Affidavit for

Warrant.     The parties also are in agreement on the applicable probable cause

standards. Both parties acknowledge that a Court’s determination of probable cause

requires consideration of the "totality of the circumstances." Illinois v. Gates, 462 U.S.

213, 230-31, 103 S. Ct. 2317 (1983).       Further, both parties agree that the test for

probable cause is whether the information in the affidavit accompanying the application

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"sets forth sufficient facts that would lead a prudent person to believe 'there is a fair

probability that contraband or evidence of a crime will be found in a particular place.'"

United States v. Gibson, 928 F.2d 250, 253 (8th Cir. 1991) (quoting Gates, 462 U.S. at

238).

         Defendant claims that Special Agent Robert Mullins did not make the requisite

factual showing in the Affidavit as the operation and ownership of such clinics is not per

se illegal. (Doc. 77, PAGEID# 189-90). The Affidavit is attached to Defendant’s Motion

to Suppress Search and Seizure (Doc. 77, PAGEID# 193-219), 1 and Government’s

Response (Doc. 79, PAGEID# 234-61) and was introduced as Government's Exhibit 1

at the hearing. The Affidavit focuses on an address in West Portsmouth, Ohio, which

was the residence of John Callihan and his wife; an address in Lucasville, Ohio, which

was the address of Lucasville Medical Specialists; and, an address in South Point,

Ohio, which was a clinic operated by co-defendant, Dr. Christopher Stegawski. The

Affidavit sets forth, in great detail, the width and breadth of the investigation (Doc. 77,

PAGEID# 193-94) as well as background information regarding Defendants Callihan

and Stegawski. (Doc. 77, PAGEID# 194-95).

         A summary of the alleged probable cause, which begins on Doc. 77, PAGEID#

195, discusses the prices charged by Dr. Stegawski and Callihan as well as internet

procedures for recruiting "Locum Tenens" to work at the clinic. (Doc. 77, PAGEID#

195-97). One such Locum Tenen, Dr. Henry Woodward, informed agents of the Ohio

State Medical Board and the Pharmacy Board of his concerns regarding the clinic

operations, which included Defendant Callihan instructing the doctor which prescriptions

to write and in what doses. (Doc. 77, PAGEID# 197). According to the Affidavit, Dr.
1
    The Court will use the page numbers of Documents 75, 76 and 77.

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Woodward further described the patients as cash paying friends of Defendant Callihan.

(Doc. 77, PAGEID# 197). Dr. Woodward expressed concern for Callihan’s involvement

in Dr. Woodward’s examinations. (Doc. 77, PAGEID# 196-97). Agents also interviewed

employees of the clinic who discussed billing practices, paperwork and payment. (Doc.

77, PAGEID# 198-99). Beginning in February 2010, an undercover agent of the State

Pharmacy Board posed as a patient. (Doc. 77, PAGEID# 199). This agent described in

great detail the workings between Callihan and Dr. Stegawski, as well as the doctor’s

lack of proper medical procedures and the methods of payment. (Doc. 77, PAGEID#

199-200). The aforementioned activity occurred at Eastside Medical Specialists which

operation, sometime between February 2010 and March 2010, moved to Lucasville and

re-opened under the name of Lucasville Medical Specialists. (Doc. 77, PAGEID# 200).

      On March 24, 2010, another undercover agent from the Bureau of Criminal

Identification contacted Lucasville Medical Specialists and, while posing as a pharmacy

owner, met with Dr. Stegawski. (Doc. 77, PAGEID# 200). As a result of this meeting,

the agent determined that Dr. Stegawski and Callihan were equal partners and that the

doctor saw 10 to 30 patients a day, five days a week. (Doc. 77, PAGEID# 200). On

average, Dr. Stegawski wrote two narcotic prescriptions and one non-narcotic

prescription per patient. (Doc. 77, PAGEID# 200). The agent further relayed Callihan’s

request to Dr. Stegawski that the doctor see up to 100 patients a day.        (Doc. 77,

PAGEID# 200). Later in the Spring, on April 29, 2010, the agent had telephonic contact

with Callihan, who indicated he is currently dispensing medicine from Lucasville Medical

Specialists and seeks to open his own pharmacy in order to fill prescriptions on a cash

only basis. (Doc. 77, PAGEID# 200). On May 27, 2010, an undercover DEA agent



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went to Lucasville Medical Specialists where he paid Callihan $200.00 for the visit and

observed Callihan review medical records and paperwork. (Doc. 77, PAGEID# 201).

On July 6, 2010, the same agent met with Dr. Stegawski regarding opening a pharmacy

and was provided with the following information from him: Callihan had five businesses

including a tire shop and a car wash as well as acting as the office manager of

Lucasville Medical Specialists; and Dr. Stegawski himself prescribes 4 to 5 prescriptions

per person from Lucasville Medical Specialists and patients pay $200.00 per visit. (Doc.

77, PAGEID# 201-02).         Between July 2010 and September 30, 2010, another

undercover agent from the Bureau of Criminal Investigation posed as a patient at

Lucasville Medical Specialists where he was greeted by Callihan and presented

Callihan with medical records, which Callihan reviewed. (Doc. 77, PAGEID# 202). The

agent paid Callihan $200.00 in U.S. Currency. (Doc. 77, PAGEID# 202). During this

visit the agent did not observe any medical supplies or equipment on the premises.

(Doc. 77, PAGEID# 202). At the end of the visit, Dr. Stegawski wrote four prescriptions

for the agent. (Doc. 77, PAGEID# 202). On his second visit, the agent again describes

his contact with Callihan and Dr. Stegawski and his receipt of prescriptions, including

Oxycontin and Vicodin. (Doc. 77, PAGEID# 202-03). On September 30, 2010, the

agent returned to the office, again paid $200.00 and received additional prescriptions for

Oxycontin and Vicodin from Dr. Stegawski. (Doc. 77, PAGEID # 203-04). None of the

aforesaid agents suffered from any medical condition which would have required the

issuance of prescriptions.

      The agents also interviewed Locum Tenen, Dr. Cindy Lee, who worked at

Eastside Medical Specialists. (Doc. 77, PAGEID# 204). Dr. Lee discussed the lack of



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documentation, the large number of patients she saw, the lack of files and Callihan’s

involvement with the patients and Dr. Lee’s examinations. (Doc. 77, PAGEID# 204-05).

        Another former employee, Heidi Vice, provided officers with a videotaped

interview wherein she discussed her work at Lucasville Medical Specialists, the number

of patients Dr. Stegawski would see a day, the lack of examinations prior to prescription

writing, and the amount of cash that changed hands was reported. (Doc. 77, PAGEID#

205-06). The Affiant further describes, in great detail, the cash transactions conducted

by the Callihans (Doc. 77, PAGEID# 207-12). On October 4, 2010, a Scioto County

Sheriff’s Department Detective, John Koch, received a call from someone identifying

himself as Callihan, who cited a number of complaints against Dr. Stegawski. (Doc. 77,

PAGEID# 212-13).

        Probable cause to search exists when "there is a fair probability that evidence will

be found in a particular place." United States v. Aljabari, 626 F.3d 940, 944 (7th Cir.

2010) (citing United States v. Anderson, 450 F.3d 294, 303 (7th Cir. 2006); Gates, 462

U.S. at 238; United States v. Reddrick, 90 F.3d 1276, 1281 (7th Cir. 1996)); see also

United States v. Davidson, 936 F.2d 856, 859 (6th Cir. 1991) (quoting United States v.

Loggins, 777 F.2d 336, 338 (6th Cir. 1985)). This is a "common-sense non-technical

determination" that is based "not on individual facts in isolation but on the totality of the

circumstances known at the time a warrant is requested." Aljabari, 626 F.3d at 944

(citing United States v. Brack, 188 F.3d 748, 755 (7th Cir. 1999); Gates, 462 U.S. at

238).

        In this case there is sufficient information in the Affidavit for the Magistrate Judge

to conclude that probable cause existed for the search of the premises known as



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Lucasville Medical Specialists and the unnamed pain clinic operated by Dr. Stegawski.

That is, probable cause existed that the prescriptions were not written or dispensed for

legitimate medical reasons. As for the search of the residence of Callihan and his wife,

Stephanie, Agent Mullins further attested, based upon his knowledge and belief, that

persons involved in this type of illegal activity are known to keep financial records and

other items of criminal intent at their residences. (Doc. 77, ¶ 59, PAGEID# 214). That

attestation provides a sufficient nexus to search the Callihans' residence. Moreover,

"[s]imple common sense supports the inference that one likely place to find evidence of

a crime is the suspect's home" where, as here, there is no information indicating to the

contrary. Aljabari, 626 F.3d at 945 (citing supporting caselaw).

       Agent Mullins also testified at the hearing that Stephanie Callihan gave consent

to search the West Portsmouth residence. That consent was not given, however, to the

testifying agent.

       Based upon the foregoing, the Court finds probable cause existed for the search

and seizure of Callihan's business and home, and thus, the motion to suppress (Doc.

77) is denied.

                      Motion to Suppress Statements (Doc. 76)

       Callihan also moves for suppression of any statements made to law

enforcement. (Doc. 76). Callihan's Motion is premised upon counsel’s understanding of

his client’s custodial status.   The Government counters, in its pleading (Doc. 80,

PAGEID# 263) and confirms through Agent Mullins' testimony at the hearing, that

sometime in early October 2010 Detective Koch of the Portsmouth Police Department

was contacted by Defendant Callihan who supplied Detective Koch with information



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regarding Dr. Stegawski. This was plainly a non-custodial conversation occurring at the

Callihan's request. Agent Mullins further indicates that at the time of the search warrant

execution on November 18, 2010, Callihan was not under arrest and was free to leave

provided, however, that if he did leave he would not be permitted to return. Callihan

discussed with the agents the Locum Tenens and at some point asked to speak with his

attorney, Michael Mearan. After that request, no further discussion occurred between

the agents and Callihan.      Although Callihan was not Mirandized, he was under no

constraint and was free to leave, which created a non-custodial situation. At the time of

Callihan's arrest on May 17, 2012, he was Mirandized and, while irate and

argumentative, he made no incriminating statements but did make comments personal

to the agents. Based upon the foregoing, the motion to suppress (Doc. 76) is denied

and none of the foregoing statements are suppressed.          The statements, however,

remain subject to motions in limine at trial.

                               Motion to Dismiss (Doc. 75)

       Callihan further moves to dismiss the Indictment (Doc. 75).            The Court

considered this Motion as well as the Government’s response (Doc. 78).                The

Defendant’s simple contention is that Dr. Stegawski was a licensed physician. There

was nothing illegal per se regarding the pain clinics. The Defendant side-steps the fact

that the Indictment (Doc. 3) charges that both Defendants, Callihan and Stegawski,

knowingly and intentionally agreed to unlawfully distribute and dispense or possess with

intent to distribute and dispense control substances not for legitimate medical purpose

and outside the scope of medical practice in violation of 21 U.S.C. §846, 841(a)(1) (Doc.

3, Count 1). The Indictment alleges that premises were maintained for the unlawful



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distribution.    (Doc. 3, Counts 2, 3, 4).   The remaining Counts deal with money

laundering allegations. Whether Dr. Stegawski was licensed and whether pain clinics

can operate legally may come into play during the defense of the case but it does not

result in dismissal of the Indictment. Therefore, Defendant’s Motion to Dismiss (Doc.

75) is denied.

                                    CONCLUSION

       Consistent with the foregoing, Defendant's Motion to Suppress Search and

Seizure (Doc. 77), Motion to Suppress Statements (Doc. 76), and Motion to Dismiss

(Doc. 75) are DENIED.

       IT IS SO ORDERED.

                                               s/ Michael R. Barrett
                                               Michael R. Barrett, Judge
                                               United States District Court




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